
C. A. 9th Cir. [Certiorari granted, ante, p. 1136.] The order granting the peti*1141tion for writ of certiorari is amended to read as follows: Motion of petitioner to proceed with 8Vz- by 11-inch paper granted. Motion of petitioner to expedite consideration granted. Petition for writ of mandamus denied. Treating the papers submitted as a petition for writ of certiorari to the United States Court of Appeals for the Ninth Circuit, certiorari granted limited to Questions 1 and 2 presented by the petition. In addition, the parties are directed to brief and argue the following question: “Did the Ninth Circuit, sitting en banc, err in concluding that the three-judge panel ‘committed fundamental errors of law that would result in manifest injustice’ sufficient to justify recalling the mandate?”
